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                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH

  UNITED STATES OF AMERICA,
                                                    MEMORANDUM DECISION AND
                  Plaintiff,                        ORDER RE: SENTENCING

  v.
                                                    Case No. 2:22-CR-491-TS
  JAMES DUFFY,
                                                    District Judge Ted Stewart
                  Defendant.




        This matter is before the Court on matters raised by the parties in advance of Defendant

 James Duffy’s sentencing regarding Defendant’s Presentence Investigation Report (“PSR”). The

 Court will address each below.

                                           I. BACKGROUND

        On December 14, 2022, Defendant was charged as one of 11 defendants in an eight-count

 Indictment for a single count of Conspiracy to Distribute Methamphetamine in violation 21

 U.S.C. §§ 841(a)(1) and 846. 1 On January 24, 2025, the government filed a Felony Information

 charging Defendant with one count of Conspiracy to Distribute Methamphetamine in violation

 21 U.S.C. §§ 841(a)(1) and 846. 2 Defendant entered a plea of guilty to Count I of the

 Information that same day. The PSR was prepared in advance of Sentencing. The parties each

 submitted briefing in support of their positions regarding the sentence to be imposed. Defendant

 has raised two objections to the PSR: he objects to the total drug quantities attributed to him in

 the PSR to the PSR’s failure to include a downward adjustment for his purported “minor role” in


        1
            Docket No. 40.
        2
            Docket No. 316.
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 the offense. The government argues that Defendant cannot qualify for a safety valve reduction

 because Defendant has not been truthful.

                                              II. DISCUSSION

    A. Drug Quantity Calculations

        Defendant argues he should not be held responsible for amounts of methamphetamine

 attributable to his co-conspirators because such conduct is outside of the scope of his

 involvement in the conspiracy. “The government bears the burden of proving by a preponderance

 of the evidence that the conduct of co-conspirators is to be attributed to the defendant for

 sentencing purposes.” 3

        With respect to cases involving contraband (including controlled substances), the
        defendant is accountable . . . in the case of a jointly undertaken criminal activity
        under subsection (a)(1)(B) [of Guideline § 1B1.3], [for] all quantities of contraband
        that were involved in transactions carried out by other participants, if those
        transactions were within the scope of, and in furtherance of, the jointly undertaken
        criminal activity and were reasonably foreseeable in connection with that criminal
        activity. 4

        “Each member of a conspiracy may have had a different scope of jointly undertaken

 criminal activity and therefore different relevant conduct.” 5 “A sentencing court must [therefore]

 make particularized findings to support the attribution of a coconspirator’s actions to the

 defendant as relevant conduct . . . .” 6 “Determining the scope of the agreement that a particular

 defendant joined in relation to the conspiracy as a whole requires the district court, at sentencing,

 to analyze, and make particularized findings about the scope of the specific agreement.” 7



        3
            United States v. Ellis, 23 F.4th 1228, 1242 (10th Cir. 2022).
        4
            USSG § 1B1.3(a)(1)(B), Application Note 3.
        5
            Ellis, 23 F.4th at 1242.
        6
            United States v. Figueroa-Labrada, 720 F.3d 1258, 1264 (10th Cir. 2013).
        7
            Ellis, 23 F.4th at 1239.

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        Application Note 4 to § 1B1.3 provides illustrative examples, two of which are cited by

 Defendant:

        Defendant P is a street-level drug dealer who knows of other street-level drug
        dealers in the same geographic area who sell the same type of drug as he sells.
        Defendant P and the other dealers share a common source of supply, but otherwise
        operate independently. Defendant P is not accountable for the quantities of drugs
        sold by the other street-level drug dealers because he is not engaged in a jointly
        undertaken criminal activity with them. In contrast, Defendant Q, another street-
        level drug dealer, pools his resources and profits with four other street-level drug
        dealers. Defendant Q is engaged in a jointly undertaken criminal activity and,
        therefore, he is accountable under subsection (a)(1)(B) for the quantities of drugs
        sold by the four other dealers during the course of his joint undertaking with them
        because those sales were within the scope of the jointly undertaken criminal
        activity, in furtherance of that criminal activity, and reasonably foreseeable in
        connection with that criminal activity. 8

        Defendant R recruits Defendant S to distribute 500 grams of cocaine. Defendant S
        knows that Defendant R is the prime figure in a conspiracy involved in importing
        much larger quantities of cocaine. As long as Defendant S’s agreement and conduct
        is limited to the distribution of the 500 grams, Defendant S is accountable only for
        that 500 gram amount (under subsection (a)(1)(A)), rather than the much larger
        quantity imported by Defendant R. Defendant S is not accountable under subsection
        (a)(1)(B) for the other quantities imported by Defendant R because those quantities
        were not within the scope of his jointly undertaken criminal activity (i.e., the 500
        grams). 9

        Courts have found that “[w]hen a lower-level drug dealer does not pool resources with a

 higher-level dealer or otherwise assist with a higher-level dealer’s drug trafficking activities, the

 higher-level dealer’s separate drug proceeds are not relevant conduct under § 1B1.3(a)(1)(B).” 10.

 In Ramirez, for example, the district court found that a defendant who “[bought] a few thousand

 pills of fentanyl from [the supplier] was only responsible for the amount he purchased and not

 the conspiracy-wide quantities where the government did not introduce evidence supporting that



        8
            USSG § 1B1.3(a)(1)(B), Application Note 4(C)(vi).
        9
            Id. Application Note 4(C)(vii).
        10
           United States v. Ramirez, No. CR 23-1834 JB, 2025 WL 1654879, at *14 (D.N.M. June
 11, 2025) (citing United States v. McReynolds, 69 F.4th 326 (6th Cir. 2023)).

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 the defendant helped the distributor conduct large scale trafficking, pooled customers, or shared

 resources. Similarly, in United States v. McReynolds, the Sixth Circuit reversed a district court’s

 finding that the defendant was responsible for the conspiracy-wide drug quantities where the

 government did not establish “modus operandi, coordination of activities among schemers, or a

 pooling of resources or profits” or that the defendant “coordinated his drug sales with the other

 conspiracy members or performed a specific service for the conspiracy.” 11

        Like the defendants in the above examples, the evidence before the Court supports that

 the scope of Defendant’s involvement in the drug trafficking organization (“DTO”) was limited

 to independent purchases of methamphetamine from the DTO’s main distributor for Defendant’s

 own benefit. The information in the PSR 12 supports that investigating agents intercepted several

 calls between Defendant and Caile Noble, the alleged DTO leader, wherein Defendant requested

 amounts of methamphetamine through certain code words. The PSR also alleges that Defendant

 interacted with co-defendant Madsen to obtain amounts of methamphetamine from Noble.

 Additionally, the government interviewed Madsen in preparation of the sentencing. Madsen

 stated that Defendant would regularly contact Noble to purchase large amounts of

 methamphetamine, and that sometimes Madsen would deliver the substances to Defendant for

 Noble. Defendant would also contact Madsen directly if Noble was not available. The




        11
           McReynolds, 69 F.4th at 333; see also Ellis, 23 F.4th at 1248 (upholding district court’s
 finding that the defendant was responsible for co-conspirator’s drug activities where the two
 shared a residence used to distribute illegal substances, pooled their resources in a number of
 ways in relation to their drug trafficking activities, shared a phone for drug sales, and provided
 financial assistance to in furtherance of their trafficking activities).
        12
           Ellis, 23 F.4th at 1242 (“After hearing from the parties, in certain instances, the district
 court is permitted to adopt the presentence report’s findings.”).


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 government argues that Madsen’s statements in conjunction with the evidence from the wiretap

 shows that Defendant was significantly involved in the conspiracy.

        Even if the Court accepts Madsen’s statements as reliable, the government has not

 presented evidence that Defendant pooled resources with Madsen, Noble, or other codefendants,

 or assisted Noble in any way with the larger conspiracy objectives. The evidence put forth by the

 government supports that his involvement was limited to his personal redistribution activities,

 like Defendants P and S in Application Note 4, discussed above. Accordingly, the Court finds

 that there is insufficient evidence to hold Defendant responsible for the amounts attributable to

 Noble or the larger conspiracy. Defendant is therefore responsible only for the amount of

 methamphetamine attributable to his own actions and supported by a preponderance of the

 evidence.

        The PSR details the following intercepted transactions:

             •   October 9, 2022: Defendant asked Noble for “half” of what he had done the
                 previous night and Noble asked him if he had the “140” for the previous day.

             •   November 5, 2022: Defendant asked Noble for “a quarter.”

             •   November 7, 2022: Defendant asked Noble for half of what he got the previous
                 night.

             •   November 19, 2022: Defendant asked for “a whole hammer” and Noble asked
                 Defendant if he had “2100” to loan Noble.

             •   November 23, 2022: Defendant tole Noble he had money for “the old 2” but
                 would be needing something else.

             •   November 29, 2022: Defendant told Noble he would be “ready for the big one”
                 and that he would need half plus one later. After observing a suspected drug
                 transaction, agents searched Defendant’s Residence and 10.29 gross grams of
                 methamphetamine was located.

        Additionally, the government alleges that in their interview with Madsen, Madsen stated

 that Defendant purchased methamphetamine from Noble from August/September into November

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 in increasing quantities, with larger one-pound purchases occurring closer to November. Madsen

 further stated that he delivered methamphetamine to Defendant’s trailer six to eight times and to

 Defendant’s parents’ homes three to four times, but that he was not the only one delivering to

 Defendant. Madsen stated that Defendant received a quarter pound to a full pound each delivery

 and was getting deliveries three to four times a week. The basis of Madsen’s allegations for

 deliveries he did not personally complete is not explained by the government.

        The government asserts that, based on the Title III intercepts and Madsen’s statements,

 Defendant would have received approximately 39 deliveries of “likely half-pound quantities” 13

 during the time in question. Without a sufficient explanation as to the basis of Madsen’s

 statements, however the Court will rely on Madsen’s statements only to the extent they are

 sufficiently corroborated by other evidence. 14

        The government has offered little regarding the amount of methamphetamine Defendant

 requested during the wire interceptions, largely relying on Madsen’s statements that Defendant

 was buying pound or fractions of a pound quantities. Defendant argues that the evidence shows

 he requested ounce amounts of methamphetamine. Based on the evidence presented, the Court

 finds the following amounts are attributable to Defendant, as argued by Defendant, and

 supported by the following events:

              •   .75 oz discussed during October 9, 2022 phone call

              •   .25 oz discussed during November 5, 2022 phone call

              •   .75 oz discussed during November 7, 2022 phone call



        13
             Docket No. 346, at 9.
        14
           See United States v. Earls, 42 F.3d 1321, 1325–26 (10th Cir. 1994) (“Estimates of drug
 quantities are an acceptable method of calculating the quantities so long as the estimates are
 based on information which carries a minimum indicia of reliability.”).

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            •   2 oz discussed during November 23, 2022 phone call

        Regarding the November 19, 2022 phone call wherein Defendant requested a “whole

 hammer,” the Court finds the preponderance of the evidence supports that this was in reference

 to a pound of methamphetamine. This is supported by Madsen’s statement that a “whole

 hammer” referred to pound of methamphetamine, and by DEA Special Agent Garrett’s assertion

 that the discussed $2,100.00 matches the street price for a pound of methamphetamine. While

 Defendant argues that the request for a “whole hammer” was not a request for

 methamphetamine, he does nothing to contest that the amount requested by Noble is consistent

 with a pound of methamphetamine. Accordingly, the Court will attribute one pound of

 methamphetamine to Defendant based on the November 19, 2023 phone call.

        Finally, the parties dispute whether “the big one” and “half plus one” discussed during

 the November 29, 2022 phone call involved ounces or pounds. In support of pounds, the

 government relies on the statements from Madsen that Defendant was regularly ordering pounds

 by November of 2022. In support of ounces, Defendant cites to the search that occurred later that

 day after officers observed an exchange between Madsen and Defendant, wherein only 10.29

 grams of methamphetamine was discovered in Defendant’s possession. Considering these

 arguments, the Court finds that the preponderance of the evidence supports attributing half an

 ounce to Defendant for the November 29 phone call and search.

        This conclusion is further bolstered by comparing the search of Defendant with the

 search of his co-defendant, Michael David Odom. As detailed in paragraphs 14 through 18 of the

 PSR, agents intercepted a call wherein Odom told Noble that he needed “a half.” Agents

 subsequently surveilled Odom and, after observing the suspected drug transaction, stopped and

 later searched his vehicle. The search revealed 224.4 grams of methamphetamine—nearly a half



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 pound. Comparing these events with the events surrounding the search Defendant, who was

 found with less than half an once shortly after requesting “a half,” provides some support for

 Defendant’s assertion that he was primarily procuring ounce amounts.

        Based on the above analysis, the Court arrives at the following calculations:

                             Event                                  Amount Attributed

         October 9, 2022 phone call                             .75 oz.

         November 5, 2022 phone call                            .25 oz.

         November 7, 2022 phone call                            .75 oz.

         November 19, 2022 phone call                           1 lb.

         November 23, 2022 phone call                           2 oz.

         November 29, 2022 phone call/search and search         .5 oz

         Total:                                                 573 grams


         Based on this analysis the Court will sustain Defendant’s first objection and attribute 573

 grams of methamphetamine to Defendant, which results in an offense level of 30.

    B. Minor Participant

        Defendant next argues that he should receive a two-level downward adjustment as a

 minor participant. Section 3B1.2 of the Sentencing Guidelines allows for a 2, 3, or 4 level

 decrease in the offense level if the defendant was a minor or minimal participant. “This section

 provides a range of adjustments for a defendant who plays a part in committing the offense that

 makes him substantially less culpable than the average participant in the criminal activity.” 15 A




        15
             U.S.S.G. § 3B1.2, Application Note 3(A).

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 minor participant is one “who is less culpable than most other participants in the criminal

 activity, but whose role could not be described as minimal.” 16

        In determining what adjustment should apply, the Court considers a number of factors,

 including:

        (i) the degree to which the defendant understood the scope and structure of the
        criminal activity; (ii) the degree to which the defendant participated in planning or
        organizing the criminal activity; (iii) the degree to which the defendant exercised
        decision-making authority or influenced the exercise of decision-making authority;
        (iv) the nature and extent of the defendant’s participation in the commission of the
        criminal activity, including the acts the defendant performed and the responsibility
        and discretion the defendant had in performing those acts; (v) the degree to which
        the defendant stood to benefit from the criminal activity. 17

        First, there is little evidence regarding Defendant’s understanding of the scope and

 structure of the activity, though he at least understood who he needed to contact to obtain

 methamphetamine. Second and third, there is no evidence before the Court regarding the extent

 Defendant planned, organized, or exercised decision making authority within the DTO. Fourth,

 Defendant argues that the nature and extent of his participation was lesser than his co-defendants,

 but the evidence suggests that his participation was substantial in that he contacted the DTO

 leader at somewhat frequent intervals for the purpose of obtaining distributable amounts of

 methamphetamine to pass along to others in the community. And finally, the evidence supports

 that Defendant derived some benefit from his activities, whether from reselling the

 methamphetamine or from discounted use of it.

        It is well-settled that a “defendant bears the burden of proving by a preponderance of the

 evidence that he was a minor participant in the crime.” 18 Defendant does not present any



        16
             Id. Application Note 5.
        17
             Id. Application Note 3(C).
        18
             United States v. Adams, 751 F.3d 1175, 1179 (10th Cir. 2014).

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affirmative evidence, only supposition about what he knew and the extent of his involvement

compared to others in the DTO. Considering the relevant factors in light of Defendant’s burden,

the Court finds that Defendant does not qualify as a minor participant and will accordingly

overrule Defendant’s objection.

    C. Safety Valve

        The PSR includes a safety valve reduction, however the government argues Defendant

has not met the requirements for this reduction. A defendant qualifies for a two-level safety valve

reduction under U.S.S.G. § 5C1.2 if he meets all five enumerated requirements, including the

final requirement that the defendant “truthfully provide[] to the Government all information and

evidence that the defendant has concerning the offense . . . .”

        “The defendant bears the burden of proving by a preponderance of the evidence that he is

entitled to the safety-valve adjustment.” 19 “Absent a favorable recommendation from the

government, a defendant needs to put on evidence at the sentencing hearing to meet his burden

of showing that he truthfully and fully disclosed everything he knew and to rebut government

claims to the contrary.” 20

        Defendant argues that the government improperly relies on Madsen’s unreliable

testimony to support that Defendant has not been fully truthful regarding his involvement in the

DTO. However, as stated, the burden is on Defendant, not the government, to prove he meets all

the requirements of the safety valve. He has not presented any evidence that would meet his

burden of production. Further, as detailed above, there is evidence to support that Defendant did,

on at least one occasion, purchase more than a half pound of methamphetamine, which



        19
             United States v. Stephenson, 452 F.3d 1173, 1179 (10th Cir. 2006).
        20
             United States v. Cervantes, 519 F.3d 1254, 1258 (10th Cir. 2008).

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contradicts his statement to law enforcement that he never purchased more than a half pound.

Based on this, it does not appear that Defendant has truthfully provided all information and

evidence he has about the offense. As a result the Court finds Defendant has not met his burden

to show he is entitled to a safety valve reduction.

          Based on these findings, the Court calculates Defendant’s offense level to be 27:

Beginning with a base offense of 30, minus three points for acceptance of responsibility pursuant

to the plea agreement, and excluding the safety valve reduction. In conjunction with a criminal

history score of III, this results in a guideline range of 87 to 108 months.

          In light of the above rulings, the Court requests that the probation officer amend the PSR

as follows: (1) remove paragraph 61; (2) amend paragraph 68 to reflect the new drug quantities

and base offense level; (3) remove paragraph 69; and (4) make all other necessary adjustments

consistent with this ruling.

                                           III. CONCLUSION

          It is therefore

          ORDERED that Defendant’s objections are sustained in part and overruled in part. It is

further

          ORDERED that the Presentence Investigation Report be amended consistent with this

Order.

          DATED this 17th day of June, 2025.



                                                       BY THE COURT:



                                                       Ted Stewart
                                                       United States District Judge


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